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 LITE DEPALMA GREENBERG & RIVAS, LLC
 Joseph J. DePalma (JD-7697)
 Susan D. Pontoriero (SP-0463)
 Katrina Blumenkrants (KB-9620)
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 Newark, NJ 07102-5003
 Telephone: 973-623-3000
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 Proposed Liaison Counsel

 [Additional counsel on signature page]

                           UNITED STATES DISTRICT COURT
                              DISTRICT OF NEW JERSEY

 [DOCUMENT ELECTRONICALLY FILED]

 EARL MAITLAND, Individually and On         )   Civil Action No. 04-cv-2123-JAG
 Behalf of All Those Similarly Situated,    )
                                            )
                              Plaintiff,    )
                                            )
        vs.                                 )
                                            )
 GENTA INC., et al.,                        )
                                            )
                              Defendants.
                                            )
                                            )
 [Caption continued on following page.]


      NOTICE OF MOTION OF THE HAMPER GROUP FOR CONSOLIDATION,
         APPOINTMENT AS LEAD PLAINTIFF, AND FOR APPROVAL OF
                SELECTION OF LEAD AND LIAISON COUNSEL
Case 2:04-cv-02123-JAG-MCA Document 15 Filed 07/06/04 Page 2 of 10 PageID: 1205



 HENRY FURINO, On Behalf of Himself and )       Civil Action No. 04-cv-2132-JAG
 All Others Similarly Situated,             )
                                            )
                                Plaintiff,  )
                                            )
        vs.                                 )
                                            )
 GENTA INCORPORATED, et al.,                )
                                            )
                                Defendants.
                                            )
                                            )
 JAN WASSERMAN, On Behalf of Himself )
 and All Others Similarly Situated,             Civil Action No. 04-cv-2133-JAG
                                            )
                                            )
                                Plaintiff,
                                            )
        vs.                                 )
                                            )
 GENTA, INC., et al.,                       )
                                            )
                                Defendants. )
                                            )
 RICHARD M. YARBRO, On Behalf of            )
 Himself and All Others Similarly Situated, )
                                            )
                                Plaintiff,  )   Civil Action No. 04-cv-2160-JAG
                                            )
        vs.                                 )
                                            )
 GENTA, INC., et al.,                       )
                                            )
                                Defendants. )
                                            )

 [Caption continued on following page.]
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 SARAH SONTAG, Individually and On         )   Civil Action No. 04-cv-2162-JAG
 Behalf of All Those Similarly Situated,   )
                                           )
                             Plaintiff,    )
                                           )
        vs.                                )
                                           )
 GENTA INC., et al.,                       )
                                           )
                             Defendants.
                                           )
                                           )
 FRED DEN, On Behalf of Himself and All    )
 Others Similarly Situated,                    Civil Action No. 04-cv-2201-JAG
                                           )
                                           )
                             Plaintiff,
                                           )
        vs.                                )
                                           )
 GENTA INC., et al.,                       )
                                           )
                             Defendants.   )
                                           )
 RICHARD JACOBS,                           )
                                           )
                             Plaintiff,    )   Civil Action No. 04-cv-2231-JAG
                                           )
        vs.                                )
                                           )
 GENTA INC., et al.,                       )
                                           )
                             Defendants.   )


 [Caption continued on following page.]
Case 2:04-cv-02123-JAG-MCA Document 15 Filed 07/06/04 Page 4 of 10 PageID: 1207



 BERNARD SAGGAU, Individually and On       )   Civil Action No. 04-cv-2232-JAG
 Behalf of All Those Similarly Situated,   )
                                           )
                               Plaintiff,  )
                                           )
         vs.                               )
                                           )
 GENTA INC., et al.,                       )
                                           )
                               Defendants.
                                           )
                                           )
 BONNIE ROST, Individually and On Behalf )
 of All Others Similarly Situated,         )
                                           )   Civil Action No. 04-cv-2245-JAG
                               Plaintiff,
                                           )
         vs.                               )
                                           )
 GENTA INC., et al.,                       )
                                           )
                               Defendants. )
                                           )
 ABRAHAM MEISNER, Individually and On )
 Behalf of All Others Similarly Situated,  )
                                           )
                               Plaintiff,  )   Civil Action No. 04-cv-2246-JAG
                                           )
         vs.                               )
                                           )
 GENTA INC., et al.,                       )
                                           )
                               Defendants. )
                                           )

 [Caption continued on following page.]
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 MILTON PFEIFFER, On Behalf of Himself      )   Civil Action No. 04-cv-2314-JAG
 and All Others Similarly Situated,         )
                                            )
                               Plaintiff,   )
                                            )
         vs.                                )
                                            )
 GENTA INC., et al.,                        )
                                            )
                               Defendants.
                                            )
                                            )
 ANGELICA L. FURLA, On Behalf of Herself )
 and All Others Similarly Situated,         )
                                            )   Civil Action No. 04-cv-2392-JAG
                               Plaintiff,
                                            )
         vs.                                )
                                            )
 GENTA INCORPORATED, et al.,                )
                                            )
                               Defendants.  )
                                            )
 JOHN F. ELLIOT, Individually and On Behalf )
 of All Others Similarly Situated,          )
                                            )
                               Plaintiff,   )
                                            )   Civil Action No. 04-cv-2466-JAG
         vs.                                )
                                            )
 GENTA, INC., et al.,                       )
                                            )
                               Defendants.  )
                                            )

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 BARRY GERARD, On Behalf of Himself and )       Civil Action No. 04-cv-2471-JAG
 All Others Similarly Situated,             )
                                            )
                                Plaintiff,  )
                                            )
        vs.                                 )
                                            )
 GENTA, INC., et al.,                       )
                                            )
                                Defendants.
                                            )
                                            )
 DAVID GREENBERG, On Behalf of All          )
 Others Similarly Situated,                 )
                                            )   Civil Action No. 04-cv-2576-JAG
                                Plaintiff,
                                            )
        vs.                                 )
                                            )
 GENTA, INC., et al.,                       )
                                            )
                                Defendants. )
                                            )
 CASEY M. McGUANE, On Behalf of Himself )
 and All Others Similarly Situated,         )
                                            )
                                Plaintiff,  )   Civil Action No. 04-cv-2581-JAG
                                            )
        vs.                                 )
                                            )
 GENTA INCORPORATED, et al.,                )
                                            )
                                Defendants. )
                                            )

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 HAROLD FULLEN, On Behalf of Himself       )   Civil Action No. 04-cv-2664-JAG
 and All Others Similarly Situated,        )
                                           )
                               Plaintiff,  )
                                           )
        vs.                                )
                                           )
 GENTA INC., et al.,                       )
                                           )
                               Defendants.
                                           )
                                           )
 CORY HECHLER, On Behalf of All Others )
 Similarly Situated,                       )
                                           )   Civil Action No. 04-cv-2665-JAG
                               Plaintiff,
                                           )
        vs.                                )
                                           )
 GENTA, INC., et al.,                      )
                                           )
                               Defendants. )
                                           )
 WILLIAM T. DEANE, On Behalf of Himself )
 and All Others Similarly Situated,        )
                                           )
                               Plaintiff,  )   Civil Action No. 04-cv-2876-JAG
                                           )
        vs.                                )
                                           )
 GENTA INCORPORATED, et al.,               )
                                           )
                               Defendants. )
                                           )

 [Caption continued on following page.]
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 ARTHUR SIEGAL, Individually and On         )   Civil Action No. 04-cv-2908-JAG
 Behalf of All Those Similarly Situated,    )
                                            )
                             Plaintiff,     )
                                            )
        vs.                                 )
                                            )
 GENTA INC., et al.,                        )
                                            )
                             Defendants.
                                            )
                                            )
 JOHN T. JACOBUS, Individually and On       )
 Behalf of All Others Similarly Situated,   )
                                            )   Civil Action No. 04-cv-2936-JAG
                             Plaintiff,
                                            )
        vs.                                 )
                                            )
 GENTA INCORPORATED, et al.,                )
                                            )
                             Defendants.    )
                                            )
Case 2:04-cv-02123-JAG-MCA Document 15 Filed 07/06/04 Page 9 of 10 PageID: 1212



        PLEASE TAKE NOTICE that on a date to be set by the Court, Class members Doug

 Hamper, William & Marjorie France, and Billy Nguyen (the “Hamper Group”), by their counsel,

 will move before the Honorable Joseph A. Greenaway, U.S.D.J., at the United States District Court

 for the District of New Jersey, M.L. King, Jr. Federal Building and U.S. Courthouse, 50 Walnut

 Street, Newark, New Jersey 07102, for an Order: (i) consolidating the above-captioned actions; (ii)

 appointing the Hamper Group as Lead Plaintiff; (iii) approving the Hamper Group’s selection of the

 law firm of Lerach Coughlin Stoia & Robbins LLP to serve as Lead Counsel and the law firm of Lite

 DePalma Greenberg & Rivas, LLC to serve as Liaison Counsel; and (iv) granting such other and

 further relief as the Court may deem just and proper. In support of this Motion, the Hamper Group

 will rely upon the accompanying Memorandum of Law and the Declaration of Susan D. Pontoriero

 with annexed exhibits. A proposed form of order is submitted herewith

 DATED: July 6, 2004                             LITE DEPALMA GREENBERG &
                                                  RIVAS, LLC


                                                 /s/ Joseph J. DePalma
                                                 Joseph J. Depalma
                                                 Susan D. Pontoriero
                                                 Katrina Blumenkrants
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                                                 Facsimile: 973-623-0858

                                                 Proposed Liaison Counsel

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                                                 Arthur C. Leahy
                                                 Nicholas J. Licato
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                                                 San Diego, CA 92101
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                                                 Facsimile: 619-231-7423



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                                       LERACH COUGHLIN STOIA
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                                       Proposed Lead Counsel




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